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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT of CALIFORNIA
                               WESTERN DIVISION (LOS ANGELES)

                       CIVIL ACTION NO: 2:24-cv-01631-MWF-PVC



   BRANDON JOE WILLIAMS®,

                  Plaintiff,
                                                   Honorable Judge Michael W. Fitzgerald
          v.                                         Magistrate Judge Pedro V. Castillo

   AMERICAN EXPRESS COMPANY;
   AMERICAN EXPRESS KABBAGE
   INC.
           Defendants.




                                 MOTION FOR RECONSIDERATION

         COMES NOW Plaintiff, BRANDON JOE WILLIAMS®, respectfully submits this

  Motion for Reconsideration pursuant to Federal Rule of Civil Procedure 59, seeking

  reconsideration of the Court's Order dated July 10, 2024, which dismissed Plaintiff’s complaint.

  This motion is based on the grounds that the Court overlooked or misunderstood significant

  aspects of the Plaintiff’s pleadings, specifically regarding the negotiability and indorsements of

  negotiable instruments under UCC Article 3.


  I. BACKGROUND


         Plaintiff initiated this action pro se on February 26, 2024. The complaint alleges that

  Plaintiff, as the “represented person” BRANDON JOE WILLIAMS®, and the “fiduciary”

  Brandon Joe Williams, engaged in lawful financial activities involving negotiable instruments,

  which were misunderstood by the Defendants and the Court. The complaint detailed numerous
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  aspects of negotiability and indorsements under UCC Article 3, which were not adequately

  considered in the Court’s Order.


  II. ARGUMENT


  A. The Court Misunderstood the Core of Plaintiff's Complaint


         The Court’s Order primarily focused on the submission of 1099a forms, which

  constitutes only about 1% of the overall complaint. The majority of Plaintiff's claims pertain to

  the negotiability and indorsements of negotiable instruments, which are governed by UCC

  Article 3. The Plaintiff contends that these crucial aspects were either ignored or misunderstood,

  leading to an unjust dismissal.


  B. Significant Aspects of UCC Article 3 Were Overlooked


         Plaintiff’s claims involve detailed explanations of terms such as “negotiability” and

  “indorsements,” which are fundamental to understanding the complaint. The Court’s failure to

  address these terms and their implications indicates a misunderstanding that warrants

  reconsideration.


  C. Plaintiff Seeks an Opportunity to Clarify Confusions


         Plaintiff is prepared to provide comprehensive explanations and evidence to clarify any

  confusions regarding UCC Article 3. A hearing would allow Plaintiff to present this information

  effectively, ensuring that the Court fully understands the legal basis of the claims.


  D. Amendment of the Complaint Should Be Allowed
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           Plaintiff seeks leave to amend the complaint to remove references to the 1099a forms and

  Title 18 claims, thereby focusing solely on the relevant issues of negotiability and indorsements.

  This amendment would streamline the complaint and eliminate any irrelevant aspects that may

  have contributed to the Court’s misunderstanding.


  E. Legal Basis for Reconsideration


           Reconsideration is appropriate when the Court has committed clear error or the initial

  decision was manifestly unjust. In School Dist. No. 1J, Multnomah County, Oregon v.

  ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993), the Ninth Circuit held that reconsideration

  under Rule 59(e) is justified if there is clear error or manifest injustice. The Plaintiff contends

  that the Court's dismissal of the complaint constitutes clear error, as it overlooked the primary

  focus of the pleadings on negotiability and indorsements under UCC Article 3.


  III. PRAYER FOR RELIEF


           WHEREFORE, Plaintiff Brandon Joe Williams respectfully requests that this Honorable

  Court:


     1. Reconsider the dismissal of Plaintiff’s complaint in light of the comprehensive objections

           presented herein, which clarify the focus on negotiability and indorsements of negotiable

           instruments, and not on the 1099a submissions or any irrelevant theories about money.

     2. Grant a hearing to allow Plaintiff to present a detailed explanation of the relevant

           provisions of UCC Article 3 and the significant misunderstandings surrounding

           negotiability and indorsements, which are central to the Plaintiff's claims.
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     3. Allow Plaintiff to amend the complaint to remove any references to the 1099a forms and

         Title 18 claims, thereby streamlining the complaint to focus solely on the issues of

         negotiability and indorsements under UCC Article 3.

     4. Recognize that Plaintiff’s claims are not frivolous and are grounded in established legal

         principles governing negotiable instruments, which warrant full consideration and

         adjudication by this Court.

     5. Provide any further relief that this Court deems just and proper to ensure that Plaintiff’s

         claims are fully heard and fairly adjudicated, including but not limited to, compensation

         for any damages incurred due to the wrongful dismissal and unjust enrichment by

         AMEX.


  July 13, 2024                                        RESPECTFULLY SUBMITTED,


                                                       BRANDON JOE WILLIAMS®

                                                       BY: /s/ Brandon Joe Williams
                                                       Brandon Joe Williams, Agent, Pro Se
                                                       P.O. Box 1962
                                                       Glendale, California 91209
                                                       brandon@williamsandwilliamslawfirm.com
                                                       (213) 309-7138

                                       Certificate of Service

         Plaintiff certifies that on July 13th, 2024, the foregoing Motion for
  Reconsideration was filed with the Clerk of this Court via ECF. I further certify
  that, as of the same date, all counsel of record below were served with a copy via
  email and ECF.

  Distribution:

  Brianna M. Bauer
  Steptoe and Johnson LLP
  2029 Century Park East, 18th Floor
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